Case 4:04-cr-00116-RAS-DDB            Document 675        Filed 09/28/10      Page 1 of 1 PageID #:
                                             754


                             United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
 vs.                                              §            Case No. 4:04cr116
                                                  §            (Judge Schell)
 DANIEL BRADLEY REYNOLDS (5)                      §

                 MEMORANDUM ADOPTING REPORT AND
         RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

         Came on for consideration the above-referenced criminal action, this Court having heretofore

 referred the request for the revocation of Defendant’s supervised release to the United States

 Magistrate Judge for proper consideration. Having received the report of the United States

 Magistrate Judge pursuant to its order, and having received Defendant’s waiver of right to object and

 waiver of right to be present and speak at sentencing, this Court is of the opinion that the findings

 and conclusions of the Magistrate Judge are correct, and adopts same as the findings and conclusions

 of the Court. It is therefore,

         ORDERED that the Magistrate Judge's Report is ADOPTED as the opinion of the Court.

 It is further

         ORDERED that Defendant’s supervised release is hereby REVOKED. It is further

         ORDERED that Defendant is sentenced to a term of imprisonment of eight (8) months with

 no supervised release to follow. The Court recommends that Defendant be housed at the Bureau of

 Prisons, Seagoville Unit.

                 .   SIGNED this the 27th day of September, 2010.




                                                            _______________________________
                                                            RICHARD A. SCHELL
                                                            UNITED STATES DISTRICT JUDGE
